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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA

Plaintiff,
VS. CR. NO. 05-20068-D
05-20072-D
ARIANE GRANT 05-20073-D
Defendant. 05-20074-D

~_,-._/-._¢\...¢v-._/~._¢-..¢\,¢u

05-20078-@//

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This cause came to be heard on July l, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Ariane Grant, appearing in person and with

counsel, Larry E. Copeland, Jr., who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l in each of the

Indictments.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, OCTOBER 3, 2005, at
1:30 P.M., in Courtrodm No. 3, on the 9th floor before Judge Bernice B.

Donald.
Defendant is allowed to remain released on present bond.

ENTERED this the épd day Of July, 2005.

  

RNICE B. NALD

ITED STATES DISTRICT JUDGE

This document entered on the dockets tr Wance
with Hu|e 55 and/or 32{b) FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

